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Jaan Rannik

From:                Angela Gross
Sent:                Friday, July 7, 2023 21:06
To:                  clement@WGLFIRM.com
Cc:                  Andrew K. Epting; Andrew K. Epting; Clinton T. Magill; Jaan Rannik; Angela Gross
Subject:             Nautilus
Attachments:         2023 07 07 - Nautilus Privilege Log re Phelps Dunbar subpoena response.pdf


SENT ON BEHALF ANDREW K. EPTING, JR., ESQUIRE:


Dear Jim,

Below is a Dropbox link containing the Phelps Dunbar documents.

hƩps://www.dropbox.com/scl/fo/fr7vx5qge77eipgjn6v3n/h?rlkey=1llm7yc4ngqq16z03d5zg6fdh&dl=0

The documents were produced to NauƟlus by Phelps Dunbar to review for privilege. A privilege log is enclosed. Jim,
there are also a few privilege redactions made by Phelps Dunbar for other unrelated matters and a few privileged
invoices that are not produced here. I will reach out early next week.


To effectuate a speedy resolution of the privileged documents, Nautilus is willing to provide all documents enumerated
within the privilege log for an in-camera/counsel eyes only review, subject to an agreement unique to this set of
documents. Under the terms of such an agreement, the documents could be used within the confines of this litigation,
should it ultimately be determined they are relevant and not privileged.

Jaan is out, but I seem to recall a conversation with him that this very issue may already have been under discussion. I
have seen a rough draft of our terms and will vet this approach with the client first thing next week. Hopefully, in this
way there need be no delay in allowing access to PSB and both PSB and Nautilus interest can be preserved.


With kindest regards,


s/   Drew
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Charleston, SC 29401
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